     Case 2:11-cr-00347-KJD-MDC              Document 371        Filed 01/06/17      Page 1 of 2




 1
                               UNITED STATES DISTRICT COURT
 2
                                         DISTRICT OF NEVADA
 3

 4
     UNITED STATES OF AMERICA
 5
                     Plaintiff ,                          Case No. 2:11-CR-00347-KJD-CWH
 6
     v.
 7                                                        ORDER
     HENRI WETSELAAR, M.D.,
 8
                    Defendant.
 9

10             Presently before the Court for consideration is Defendant, Dr. Henri Wetselaar’s Motion for

11   Reconsideration of Dr. Wetselaar’s Second Motion for a Hearing to Determine Mental Competency

12   (#367).

13             This Motion, filed one business day before the commencement of trial, requests this Court to

14   reconsider its denial of Defendant’s Second Motion for a Hearing to Determine Mental Competency

15   (#348) filed December 9, 2016. During a December 14, 2016 hearing on the motion, the Court

16   denied Defendant’s request for a competency hearing based on the reasoning that, although

17   Defendant is felt to have Alzheimer’s, this is not sufficient to upset the findings the Court has

18   previously made with regard to Defendant’s ability to stand trial. Defendant waited 23 days to file

19   the instant Motion on the eve of trial. He provides no explanation for why he waited until one

20   business day before trial to move for reconsideration of the Court’s December 14th hearing. Thus,

21   the Motion is untimely.

22             Further, Defendant has failed to meet the proper standard for reconsideration.

23   “Reconsideration is appropriate if the district court (1) is presented with newly discovered evidence;

24   (2) committed clear error or the initial decision was manifestly unjust; or (3) if there is an intervening

25   change in controlling law.” Frasure v. United States, 256 F. Supp. 2d 1180, 1183 (D. Nev. 2004)

26   (quoting School Dist. No. 1J, Mutlnomah County, Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir.
     Case 2:11-cr-00347-KJD-MDC            Document 371        Filed 01/06/17     Page 2 of 2




 1   1993)). Here, there is no newly discovered evidence or any intervening change in controlling law.

 2   Although not clear from Defendant’s Motion, Defendant seems to be alleging this Court committed

 3   clear error or that the December 14th decision was manifestly unjust. Based on this assumption, the

 4   Defendant fails to provide information, case law, or any other authority or information to

 5   demonstrate how this Court’s ruling is clear error and how it is manifestly unjust. Defendant simply

 6   reintroduces information previously provided to this Court in his December 9th motion.

 7          Accordingly, IT IS THEREFORE ORDERED that Defendant’s Motion for Reconsideration

 8   of Dr. Wetselaar’s Second Motion for a Hearing to Determine Mental Competency (#367) is denied.

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                 6th
     DATED this _______ day of January 2017
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                                                  _____________________________
14                                                Kent J. Dawson
                                                  United States District Judge
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